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 10 Attorneys for Plaintiffs

 11                                UNITED STATES DISTRICT COURT

 12                               SOUTHERN DISTRICT OF CALIFORNIA

 13

 14 CAPTAIN BOUNCE, INC., SEVAG                      CASE NO. 3:11-cv-0858-JLS-WMC
    KALAJAIN, SAMUEL
 15 KHATOMATOURIAN, and TAMRA                        PLAINTIFFS' NOTICE OF MOTION
    COVIELLO dba KC DANCEGEAR,                       AND MOTION FOR CORRECTIVE
 16 individually and on behalf of all others         ACTION
    similarly situated,
 17

 18                 Plaintiffs,                      DATE: December 8, 2011
                                                     TIME: 1:30 p.m.
 19 vs.                                              CTRM: 6 (3rd floor)

 20 BUSINESS FINANCIAL SERVICES, INC.,               Hon. Janice L. Sammartino
    BUSINESS CASH ADVANCE, INC.,
 21 FATON, INC., and DOES 1 through 50,

 22                 Defendants.

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      PLAINTIFFS' NOTICE OF MOTION AND MOTION FOR CORRECTIVE                     3:11-cv-0858-JLS-WMC
      ACTION
Case 3:11-cv-00858-JLS-WMC Document 23 Filed 09/22/11 PageID.556 Page 2 of 2



  1              PLEASE TAKE NOTICE that at December 8, 2011 on 1:30 p.m., in the courtroom of the

  2 Honorable Janis L. Sammartino, located at 940 Front Street, San Diego, California 92101-8900,

  3 Plaintiffs will and do hereby move this Court for an order for corrective action.

  4              This motion is made pursuant to Federal Rule of Civil Procedure 23, which provides both

  5 the duty and authority for the Court to issue orders protecting absent class members. This motion

  6 is based on the notice of motion and motion, the memorandum of points and authorities, the

  7 declarations of Zach P. Dostart and Daniel Emery and the exhibits thereto, and on such other

  8 matters as the Court may consider at the hearing on plaintiffs' motion.

  9 Dated: September 22, 2011                    DOSTART CLAPP & COVENEY, LLP

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                                                 s/ Zach P. Dostart
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                                                 ZACH P. DOSTART
 12                                              Attorneys for Plaintiffs
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      PLAINTIFFS' NOTICE OF MOTION AND MOTION FOR CORRECTIVE                            3:11-cv-0858-JLS-WMC
      ACTION
